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                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

Defendants.




      DECLARATION OF CHRISTOPHER BELL ON BEHALF OF THE WARNER MUSIC
         PLAINTIFFS IN OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL

            I, Christopher Bell, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

            1.      I am currently employed as Vice President, Technology and Anti-Piracy for

     Warner Music Inc. (“WMI”). I have held that position since September 11, 2017. I have

     personal knowledge of the facts set forth below and/or have learned of these facts as a result of

     my position and responsibilities at WMI. If called upon and sworn as a witness, I could and

     would testify competently as to the matters set forth herein.

            2.      Plaintiffs Atlantic Recording Corporation, Bad Boy Records LLC, Elektra

     Entertainment Group Inc., Fueled By Ramen LLC, Nonesuch Records Inc., Roadrunner Records,

     Inc., and Warner Bros. Records Inc. are individual companies under the Warner Music Group

     umbrella (collectively, “Warner Music”).

            3.      I am generally familiar with Warner Music’s practices and procedures for

     developing, exploiting, and distributing sound recordings and Warner Music’s anti-piracy efforts

     and other efforts to enforce its copyrights covering its sound recordings.




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         4.      I understand this declaration is to be submitted to the Court in opposition to a

  motion to compel discovery from Warner Music Group’s record company plaintiffs and music

  publishing plaintiffs by Defendants Cox Communications, Inc. and CoxCom, LLC (collectively,

  “Cox”).

            Discovery Relating to Anti-Piracy, Recording Industry Association of America

                                      (“RIAA”) and MarkMonitor

         5.      RIAA is the record industry trade group that Warner Music and the other record

  company plaintiffs have worked closely with for many decades. RIAA supports and promotes

  the creative and financial vitality of the major record companies. To that end, RIAA assists the

  record company plaintiffs in a variety of ways, with departments and personnel helping with,

  among other things: (1) anti-piracy investigation and enforcement, both in the physical and

  digital realms; (2) copyright litigation matters, including as counsel and pre-litigation counsel in

  numerous cases, including in cases like Napster, Aimster, Grokster, Limewire, and many others;

  (3) legislative issues at the federal and state level; (4) regulatory matters with the Copyright

  Office and other agencies such as the Federal Communications Commission, the U.S. Patent &

  Trademark Office, and the United States Trade Representative; (5) industry relations issues such

  as overseeing the program for Gold and Platinum awards based on artist sales success; (6)

  coordinating with international organizations and governments on music protection; and (7)

  research and technology review.

         6.      The scope and quantity of the documents responsive to Cox’s requests regarding

  the RIAA is staggering, with much of the material not identifying or concerning Cox or even

  copyright infringement issues in any manner at all. And even if the requests were limited to

  issues involving RIAA’s anti-piracy work, it would still be impossibly overbroad. For well over




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  twenty years, RIAA has had an entire team of online anti-piracy personnel whose sole and full-

  time responsibility is to identify infringing activity, to prepare notice-and-takedown requests, and

  to inform lawyers for the record companies regarding piracy issues.

         7.      This means that a request for all documents and communications with or

  involving RIAA concerning copyright infringement or any of the works in suit could span

  hundreds of anti-piracy investigations, monitoring and enforcement efforts, pre-litigation

  analyses or lawsuits. It would entail preparation of a massive privilege log. While it is hard to

  assess the resulting costs and disruption, I anticipate that costs alone could easily exceed several

  hundred thousand dollars, if not higher.

         8.      Over the last decade, MarkMonitor and/or its predecessor, Dtecnet, Inc., have

  been involved in a variety of notice programs at RIAA’s bequest to protect the record

  companies’ copyrights. MarkMonitor and/or Dtecnet have sent millions of infringement notices

  on behalf of Warner Music and other record companies over the years that have nothing to do

  with Cox. In addition, MarkMonitor and/or DtectNet have provided litigation support to RIAA

  in cases protecting the record companies’ copyrights.

         9.      Warner Music’s anti-piracy efforts (many of which occur in cooperation and

  common interest with other plaintiffs, the RIAA, and/or MarkMonitor) contain sensitive

  information concerning the means, methods, and strategies by which we combat piracy of sound

  records and their associated musical compositions.       This is information that is guarded as

  extremely confidential.    Unauthorized access and use of that information could provide a

  roadmap for infringers and significantly undermine the efforts to deter infringing activity.




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                  Discovery concerning the Copyright Alert System and Third-Party ISPs

            10.     I understand that Cox seeks production of “all documents concerning CAS,” or

  the Copyright Alert System, as well as the copyright infringement practices of other Internet

  Service Providers (ISPs), including all documents concerning a multitude of topics such as (1)

  negotiations related to CAS, (2) any memorandum of understanding concerning CAS, (3) any

  agreements entered concerning CAS, (4) Warner Music’s status as a signatory to a CAS

  Memorandum of Understanding (“MOU”), (5) Cox’s compliance or non-compliance with

  policies or procedures in CAS, (6) any technological system used in connection with CAS, (7) all

  reviews, assessments, evaluations, reports, or the like, concerning CAS, and (8) notifications sent

  pursuant to CAS.

            11.     In addition, I understand Cox seeks production of “all documents” concerning a

  host of issues concerning third-party ISPs, including (9) any ISP’s response to receiving an

  infringement notice from any entity, regardless of whether it involved Plaintiffs, RIAA or

  MarkMonitor, (10) communications with ISPs other than Cox regarding copyright infringement

  notices, (11) policies and practices concerning termination or suspension of subscribers, and (12)

  documents concerning transmitting “information” to ISPs’ subscribers with no limit on subject

  matter.

            12.     CAS was a private agreement between 18 private parties (30 parties, including all

  affiliated entities), including trade groups, copyright holders, and ISPs, designed to educate

  consumers, deter online infringement, and direct consumers to lawful online legitimate sources

  of content. Cox did not participate in CAS.

            13.     Negotiations leading up to the formation of CAS spanned years. A separate

  corporate entity called the Center for Copyright Infringement, Inc. (“CCI”) was created to




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  administer and oversee CAS. The creation and administration of CCI and CAS involved dozens

  of individuals at dozens of companies from multiple industries engaged in dialogue over the

  course of years. Each participating company was involved in the oversite and activities of CCI.

  The terms and agreement implementing CAS contain strict confidentiality provisions governing

  the handling of the participating members’ sensitive business information and records and data

  relating to the CAS notice program. Certain information cannot be disclosed without the prior

  written consent of all 30 parties involved. CCI has since dissolved.

         14.       CAS did not establish, or attempt to establish, an industry standard. The MOU

  setting forth CAS’s framework acknowledged that “the limitations on ISP liability under the

  DMCA are conditioned on an ISP’s adoption and reasonable implementation of a policy that

  provides for the termination in appropriate circumstances of subscribers and account holders who

  are repeat infringers.” (MOU at 9 n.1, attached as Ex. 13 to J. Golinveaux Decl. (ECF No. 75-

  14).) The MOU further acknowledged that “entering into this Agreement is not, by itself,

  intended to address whether a Participating ISP has adopted and reasonably implemented a

  DMCA Termination Policy.” Id.

         15.       MarkMonitor was engaged to conduct monitoring and notice sending on behalf of

  the record companies and movie studios in connection with CAS. In that context, MarkMonitor

  sent millions of infringement notices to five major ISPs who contractually agreed to participate

  in CAS. None of those notices involved Cox. Many of those notices would have pertained to

  Warner Music works (including works in suit in this action), as well as other third parties,

  including movie studios whose copyrights are not at issue in this case. Ongoing coordination

  and communication between the 18 parties to CAS (plus a dozen more affiliated entities)

  spanned years.




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         16.     Searching for and producing all the documents sought by Cox’s overbroad

  requests concerning CAS and other ISPs would be a major undertaking and impose a significant

  burden. The search for documents would span roughly seven years and involve documents and

  communications concerning dozens of companies, dozens of individuals, the negotiations and

  creation of an independent corporation, millions of infringement notices to ISPs other than Cox,

  follow-up concerning millions of notices, independent review of the CAS program, and all with

  strict confidentiality obligations, some of which require notice to and written consent from third

  parties before disclosing.


  I declare under penalty of perjury that the foregoing is true and correct to the best of my
  knowledge and belief.




                                                                  Christopher Bell



  Executed this 23rd day of January 2019, in New York.




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